          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:08cr128-10


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                        ORDER
                          )
                          )
RAVON JAMAR PATTON.       )
                          )

      THIS MATTER is before the Court on the Government’s motion to

dismiss the criminal forfeiture of the real property located at 400 Roper Street,

Morganton, North Carolina. [Doc. 383]. The Government advises that it has

filed a civil forfeiture action with respect to this property. See Civil Action No.

1:10cv18.

      For the reasons stated in the Government’s Motion, and for cause

shown, IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss Forfeiture of 400 Roper Street [Doc. 383] is GRANTED.

      IT IS SO ORDERED.                 Signed: January 19, 2010




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